              Case 18-14821-LMI       Doc 101      Filed 02/22/19    Page 1 of 14




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

 IN RE:                                            CASE NO.: 18-14821-LMI

 WILL ZAMORA,                                      Chapter 7
                                        Debtor./

               TRUSTEE’S MOTION TO APPROVE STIPULATION FOR
             COMPROMISE AND SETTLEMENT WITH TIMOTHY MOSLEY

       Ross R. Hartog, the Chapter 7 Trustee (“Trustee”) of the Bankruptcy Estate of Will

Zamora (the “Debtor”), moves (the “Motion”), pursuant to Federal Bankruptcy Rule 9019 to

approve the Stipulation for Compromise and Settlement (the “Stipulation”) entered into by and

between the Trustee and Timothy Mosley (“Mosley”). In support of the Motion, the Trustee

states as follows:

                                 Background and Jurisdiction

       1.      On April 25, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

under Chapter 13 of the United States Bankruptcy Code. On October 4, 2018, this case was

converted to Chapter 7. Thereafter, Ross Hartog was appointed as the Chapter 7 Trustee [ECF

59].

        2.     Prior to the Petition Date, the Debtor and Mosley were involved in three (3) state

court cases concerning real estate that the Debtor was trying to purchase from Mosley:

             Miami-Dade County Court Case No.: 2018-000471-CC-26;
             Miami-Dade County Circuit Court Case No.: 2018-4315-CA-01; and
             Miami-Dade County Circuit Court Case No.: 2018-003739-CA-01
(collectively, the “State Court Cases”).
                Case 18-14821-LMI            Doc 101       Filed 02/22/19       Page 2 of 14




        3.       Prior to the Petition Date, $20,000 had been placed in escrow with the Keyes

Company Realty Trust Account (“Escrow #1); $40,000 had been placed in escrow with LL

Business Managements, Inc. (“Escrow #2); and $40,000 had been placed in escrow with the

Debtor (“Escrow #3). The Escrows related to the Debtor’s attempt to purchase real property

from Mosley that the Debtor was unable to accomplish in breach of various agreements with

Mosley.

        4.       The Trustee and Mosley have each claimed an interest in Escrow #1, Escrow #2

and Escrow #3.

        5.       The Trustee has reviewed the State Court Cases and the history of the

surrounding disputes, as well as Mosley’s claims against the Debtor, and has determined that the

Debtor was in default under the agreements related to the sale of the real estate such that Escrow

#1 and Escrow #2 belong to Mosley.

        6.       The Stipulation provides for the settlement of Escrow #1, Escrow #2 and Escrow

#3, in that Mosley will pay the Estate the sum of $10,000. The Stipulation to Compromise

Controversy is attached hereto as Exhibit “A”.

        7.       The Stipulation contains additional terms and conditions, including, but not

limited to, default provisions and an allocation of the settlement proceeds.

                                     Legal Standard for Settlement

        8.       Bankruptcy Rule 9019 (a) provides: “On motion . . . and after a hearing on notice

to creditors, the debtor . . . and to such other entities as the court may designate, the court may

approve a compromise or settlement.”1

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  Rule 9013-1(D) of the Local Bankruptcy Rules for the Bankruptcy Court for the Southern District of Florida
permits, inter alia, relief without a hearing for motions to approve settlement.
               Case 18-14821-LMI        Doc 101      Filed 02/22/19     Page 3 of 14




       9.      As this Court has previously found, “approval of a settlement in a bankruptcy

proceeding is within the sound discretion of the Court, and will not be disturbed or modified on

appeal unless approval or disapproval is an abuse of discretion.” In re Arrow Air, Inc., 85 B.R.

886, 891 (Bankr. S.D. Fla. 1988) (Cristol, J.) (citing Rivercity v. Herpel (In re Jackson Brewing

Co.), 624 F.2d 599, 602-03 (5th Cir. 1980); Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics

Servs., Inc.) 762 F.2d 185, 189 (2d Cir. 1985); In re Prudence Co., 98 F. 2d 599 (2d Cir. 1938),

cert denied sub nom. Stein v. McGrath, 306 U.S. 636 (1939)).

       10.     The test is whether a proposed settlement “falls below the ‘lowest point in the

range of reasonableness.’” Arrow Air, 85 Bankr. 891 (quoting Teltronics Servs., 762 F.2d 189;

Cosoff v. Roddman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.), cert denied, 464 U.S.

822 (1983)).

       11.     According to the Unites States Eleventh Circuit Court of Appeals, when a

bankruptcy court decides whether to approve or disapprove a proposed settlement, it must

consider:

       (a)     the probability of success in litigation;

       (b)     the difficulties, if any, to be encountered in the matter of collection;

       (c)     the complexity of the litigation involved, and the expense, inconvenience and
               delay necessarily attending it; and

       (d)     the paramount interest of the creditors and a proper defense to their reasonable
               views in the premises.

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990). See

Jackson Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.

       12.     In the instant case, the Stipulation resolves the dispute between the Trustee and

the Mosley concerning Escrow #1, Escrow #2 and Escrow #3. The Stipulation further allows the
               Case 18-14821-LMI        Doc 101     Filed 02/22/19      Page 4 of 14




parties to avoid the time and expense associated with litigating these issues, which would

necessarily involve the retention and payment of valuation experts, the time and expense

associated with contested evidentiary hearings, and to the extent that the Trustee was successful,

the costs associated with the retention of an auctioneer and the sale of assets.

         13.   Therefore, the Trustee believes that the Stipulation meets the standards set forth

in In re Justice Oaks II, and recommends approval of the settlement because it is fair and

reasonable, falls within the reasonable range of possible litigation outcomes, and is in the best

interest of the Estate, because the settlement avoids the risks associated with litigation and

collection in this matter and provides for a meaningful distribution to creditors.

         14.   Pursuant to Local Rule 9013-1(D), a copy of the proposed Order is attached

hereto as Exhibit “B”.

         WHEREFORE, Ross R. Hartog, as Chapter 7 Trustee, respectfully requests this Court

enter an Order (1) granting the Motion; (2) approving the Stipulation; and (3) granting such other

and further relief as this Court deems just and proper.

Dated: February 22, 2019               Respectfully Submitted,

                                       MARKOWITZ RINGEL TRUSTY & HARTOG, P.A.
                                       Counsel to Chapter 7 Trustee
                                       9130 South Dadeland Boulevard, Suite 1800
                                       Miami, Florida 33156
                                       Tel. (305) 670-5000
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                                       By: /s/ John H. Lee
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                                            Florida Bar No. 91795
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780311
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 5 of 14




      Exhibit “A”
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 6 of 14
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 7 of 14
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 8 of 14
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 9 of 14
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 10 of 14




     12
Case 18-14821-LMI   Doc 101   Filed 02/22/19   Page 11 of 14




      Exhibit “B”
             Case 18-14821-LMI        Doc 101       Filed 02/22/19   Page 12 of 14




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                             CASE NO.: 18-14821-LMI

 WILL ZAMORA,                                       Chapter 7


                                         Debtor./

                               PROPOSED
              ORDER GRANTING MOTION TO APPROVE STIPULATION
                  TO COMPROMISE CONTROVERSIES [ECF __]

       THIS MATTER having come before the Court in Miami, Florida, upon the Trustee’s

Motion to Compromise Controversies between the Trustee Ross R. Hartog (the “Trustee”) and

Timothy Mosley (“Mosley”) (the “Motion”) [ECF __], and the Trustee by submitting this form

of order having represented that the Motion was served on all parties required by Local Rule

9013-1(D), that the 21 day response time provided by that rule has expired, that no one has filed,

or served on the Trustee a response to the Motion, and that the form of order was attached as an

exhibit to the motion, and the Court, having reviewed the Motion filed by the Trustee, and being
               Case 18-14821-LMI       Doc 101     Filed 02/22/19     Page 13 of 14




otherwise fully advised in the premises, hereby

          ORDERS:

          1.    The Motion is GRANTED and the Stipulation attached to the Motion is

APPROVED.

          2.    The Court approves the Stipulation and settlement reached between the Trustee

and the Mosley.

          3.    The terms of the Stipulation attached to the Motion are incorporated herein.

          4.    The Court finds that all creditors and parties-in-interest have been duly noticed of

the Motion, the hearing on the Motion, and the proposed settlement.

          5.    The Court finds that the settlement is in the best interest of creditors and the

estate.

          6.    The Trustee shall cause the State Court Cases to be dismissed with Prejudice,

which papers shall be submitted within ten (10) days of the date of this Order. The Trustee’s

interests in Escrow #1, Escrow #2, and in the Potential Avoidance are released to Mosley.

          7.    With respect to Escrow #1, The Keyes Company, Luxury Sales, 2121 SW 3rd

Avenue, 3rd Floor, Miami, FL 33129, shall pay to Mosley the full balance of its escrow account

for the Will Yanes Zamora/Timothy Mosley matter ($20,000) within ten (10) days of the date of

this Order. That $20,000 was wired to The Keyes Company by the Debtor on June 12, 2017

from Regions Bank for identifying purposes.

          8.    Mosley shall pay the Trustee the sum of $10,000 within ten (10) days of the date

of this Order. The check shall be made payable to “Ross R. Hartog, as Trustee in Bankruptcy.”

Mosley shall deliver the check on or before the due date to Ross R. Hartog, Trustee, 101 NE
               Case 18-14821-LMI       Doc 101      Filed 02/22/19     Page 14 of 14




Third Avenue, Suite 1210, Ft. Lauderdale, FL 33301. Mosley waives all of his claims to Escrow

#3.

       9.       The dismissal with prejudice of the State Court Cases shall have no impact on the

sums Mosley claims in his Proof of Claim, Claim 1.

       10.      The Court reserves jurisdiction to enforce the terms of this Order and the

Stipulation.

                                                ###

Submitted by:
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9130 South Dadeland Boulevard, Suite 1800
Miami, FL 33156
Tel: (305) 670-5000

Copies to:
John H. Lee, Esq.
(Attorney Lee is directed to mail a copy of this Order to all interested parties and to file a
certificate of service).
